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                                                                UNITED STATES COURT OF APPEALS
                                                                     FOR THE SIXTH CIRCUIT

                                                                             No. 22-1669


                                   UNITED STATES OF AMERICA,

                                          Plaintiff-Appellee,

                                   v.

                                   JOSEPH GREGORY DUMOUCHELLE,

                                          Defendant-Appellant.



                                                    Before: GUY, MOORE, and KETHLEDGE, Circuit Judges.

                                                                            JUDGMENT
                                                           On Appeal from the United States District Court
                                                            for the Eastern District of Michigan at Detroit.


                                           THIS CAUSE was heard on the record from the district court and was submitted on the
                                   briefs without oral argument.

                                          IN CONSIDERATION THEREOF, it is ORDERED that the judgment of the district court
                                   is AFFIRMED.

                                                                               ENTERED BY ORDER OF THE COURT




                                                                               Deborah S. Hunt, Clerk




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